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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                                WESTERN DIVISION

UNITED STATES OF AMERICA                          )                              PLAINTIFF
                                                  )
v.                                                )      No. 4:18CR00172 JM
                                                  )
                                                  )
ANDREW SCHERELL                                   )                             DEFENDANT

             DEFENDANT’S UNOPPOSED MOTION FOR CONTINUANCE

     The Defendant, Andrew Scherell, by and through his attorney, Latrece Gray, and for

his Motion for Continuance, states:

     1. This case is set for trial on Monday, October 22, 2018, at 9:15 a.m.;

     2. Defense counsel has received the discovery, and will need additional time to review

this material with Mr. Scherell, pursue pretrial matters and if necessary prepare this case

for trial;

     3. Accordingly, defense counsel respectfully requests that the Court grant a

continuance in this case, and hereby certifies that this Motion is brought in good faith, and

not for the purpose of delay or any other improper purpose;

     4. Defense counsel has contacted the Assistant United States Attorney, Benecia

Moore, and there is no opposition to Defendant’s request that this case be continued;

     5. The additional time occasioned by the Court’s granting of this Motion is excludable

under the Speedy Trial Act.




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       WHEREFORE, the Defendant, Andrew Scherell, respectfully requests that this

Court grant his Motion for Continuance and for all other just and appropriate relief.

                                                 Respectfully submitted,



                                                 JENNIFFER HORAN

                                                 FEDERAL DEFENDER

                                          By:    /s/Latrece Gray
                                                 Latrece Gray 93028
                                                 Assistant Federal Defender
                                                 The Victory Building, Suite 490
                                                 1401 West Capitol Avenue
                                                 Little Rock, AR 72201
                                                 Telephone: (501) 324-6113
                                                 E-mail: latrece_gray@fd.org

                                         For:    Andrew Scherell, Defendant

                              CERTIFICATE OF SERVICE

 I hereby certify that on this 9th day of October, 2018, a true and correct copy of the
foregoing was mailed to the Defendant, and was electronically filed with the Clerk of the
Court using the CM/ECF system, which shall send notification to the following:

Benecia Moore
Assistant United States Attorney
P.O. Box 1229
Little Rock, AR 72203
E-mail: benecia.moore@usdoj.gov

Andrew Scherell, Defendant


                                                 /s/Latrece Gray
                                                 Latrece Gray


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